               Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 1 of 15 Page ID #:4258
                                     LIST OF EXHIBITS AND WITNESSES
                                                                                                                    LLE
  Case Number

      Judge
                         CR 13-819 PA
                         PERCY ANDERSON U S DISTRICT JUDGE
                                                                Title        USA v JAMES SEXTON
                                                                                                                1                 DIi R?CTCQuni


                                                                                                                                 2 2 jY
                                                                                                                                                      J
  Dates of Trial
   or Hearing
  Court Reporters
                         5/13/14, 5/14/14,5/15/14, 5/16/14,5/19/14.5/20/14,5/21/14,5/22/14

                         LEANDRA AMBER, ROSALYN ADAMS
                                                                                                                 CENTRAL             OF CAu9         I
   or Tape No.
  Deputy Clerks          PAUL SONGCO

                   Attorney(s) for Plaintiff(s) / Petitioner(s)                                  Attorney(s) for Defendant(s) / Respondent(s)

 BRANDON FOX AUSA                                                                   TOM O’BRIEN

 LIZ RHODES, AUSA                                                                   NICK BEGAKIS

 MAGGIE CARTER, AUSA                                                                 KATY WANNER




     Plaintiff(s) or Petitioner(s)                 Defendant(s) or
                                                   Respondent(s)
                                                                                          EXHIBIT DESCRIPTION I WITNESS                         Called By
  Ex. No.          Id.        Ev.        Ex. No.         Id.            Ev
                                        277           5/16/14      5/16/14      Application for Writ

                                        276           5/16/14                   Email dated 8/25/11 from Tanaka to Leavins



                                                                                SEE ATTACHED




                                                                LIST OF EXHIBITS AND WITNESSES                                           rage _oi_
G-65 (03/07)
     Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 2 of 15 Page ID #:4259



 1 ANDR BIROTTE JR.
    United States Attorney
 2 ROBERT E. DUGDALE
    Assistant United States Attorney
 3 Chief, Criminal Division
    BRANDON D. FOX (Cal. Bar No. 290409)
 4 Deputy Chief, Public Corruption and Civil Rights
    LIZABETH ANN RHODES (Cal. Bar No. 155299)
 5 MARGARET L. CARTER (Cal. Bar No. 220637)
    Assistant United States Attorney
 6 Public Corruption and Civil Rights Section
         1300 United States Courthouse
 7       312 North Spring Street
         Los Angeles, California 90012
 8       Telephone: (213) 894-0284/3541/7413
         Facsimile: (213) 894-6436
 9       E-mail:     Brandon.Fox@usdoj.gov
                     Lizabeth.Rhodes@usdoj.gov
10                   Maggie.Carter@usdoj.gov
11 Attorneys for Plaintiff
    UNITED STATES OF AMERICA
12
                          UNITED STATES DISTRICT COURT
13
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
    UNITED STATES OF AMERICA,            No. CR. 13-819-PA
15
              Plaintiff,                 GOVERNMENT’S WITNESS LIST
16
                   V.                     [18 U.S.C. § 371: Conspiracy;
17                                       18 U.S.C. § 1503(a): Obstruction
    JAMES SEXTON,                        of Justice]
18
              Defendant.                 Trial Date:     May 13, 2014
19                                       Trial Time:     8:30 p.m.
                                         Location:       Courtroom of the
20                                                       Hon. Percy Anderson
21

22         Plaintiff United States of America, by and through its counsel

23 of record, the United States Attorney for the Central District of
24 California and Assistant United States Attorneys Brandon D. Fox,

25 Lizabeth A. Rhodes, and Margaret L. Carter, hereby files its Witness
26 List.
27

28
     (S
          Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 3 of 15 Page ID #:4260



 1                                Government’s Witnesses List

 2              The government may call the following witnesses in its case in
 3 I chief:
 4              1.   Robert Bayes, Los Angeles County Sheriff’s Department          5/1411

 5             ’2.   David Royston, Los Angeles County Sheriff’s Departmentc(4(
 6              3.   Michelle Miller, Los Angeles County Sheriff’s DepartmentSjl4

 7             4.    David Dahie, Federal Bureau of Investigation
 8              5.   Charles Kunz, Los Angeles County Sheriff’s Department

 9              6.   Judy Gerhardt, Los Angeles County Sheriff’s Department SX/

10              7.   Michael Rathbun, Los Angeles County Sheriff’s Department

11              8.   Yolanda Baines, former contractor with the United States
12 Marshal’s Service.
13              9.   Tara Adams, Los Angeles County Sheriff’s Department

14              10. Ryan Ortiz, Los Angeles County Sheriff’s Department

15              11. Anthony Brown
16              12. Leah Marx, Federal Bureau of Investigation

17              13. Anthony Lewis, Assistant United States Attorney’

18
19
20
21
22
23
24
25
26
27
           AUSA Lewis is expected to simply read in the prior sworn
28 testimony by defendant James Sexton.
     Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 4 of 15 Page ID #:4261


 1   I Dated: May 12, 2014                Respectfully submitted,
 2                                        ANDRE BIROTTE JR.
                                          United States Attorney
 3
                                          ROBERT E. DUGDALE
 4                                        Assistant United States Attorney
                                          Chief, Criminal Division
 5

 6                                              /s/ Brandon D. Fox
                                          Brandon D. Fox
 7                                        Lizabeth A. Rhodes
                                          Margaret L. Carter
 8                                        Assistant United States Attorneys

 9                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
10

11

12

13

14

15

16

17

18
19
20

21

22
23

24

25

26
27

28
                                          2
Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 5 of 15 Page ID #:4262
          2:13-cr-00819-PA Document 342 Filed 05/12/14 Page 1 of 2 Page ID #:4126



      1   THOMAS P. O’BRIEN(SB# 166369)
          thomasobrienA au1hastings .com
  2       NICHOLAS         EGAKIS (SB# 253588)
          nickbegakis(Thaulhasitngs .com
  3       PAULTIJASYINGS LLP
          515 South Flower Street
  4       Twenty-Fifth Floor
          Los Angeles, CA 90071-2228
  5       Telephone: (213) 683-6000
          Facsimile: (213) 627-0705
  6
          Attorneys for Defendant
  7       JAMES SEXTON
  8
                                UNITED STATES DISTRICT COURT
  9
                              CENTRAL DISTRICT OF CALIFORNIA
 10
 11
          UNITED STATES OF AMERICA,              NO. CR 13-819-PA
 12
                         Plaintiff,              DEFENDANT JAMES SEXTON’S
 13                                              WITNESS LIST
               V.
 14
          GREGORY THOMPSON, et al.
 15                                              Trial Date: May 13, 2014
                                                 Time:        8:30 a.m.
 16                                              Judge:       Hon. Percy Anderson
                         Defendants.
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                          DEFENDANT SEXTON’S WITNESS LIST
Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 6 of 15 Page ID #:4263
          2:13-cr00819-PA Document 342 Filed 05/12/14 Page 2 of 2 Page ID #:4127



      1         In response to the Court’s request for a list of witnesses to be read to the
  2       venire, Defendant James Sexton ("Deputy Sexton"      ) hereby submits the following
  3       list of witnesses whom Deputy Sexton may call at trial (excluding witnesses whom
  4       Deputy Sexton may call solely for impeachment):
  5                1. Detective Mark Lillienfeld
  6                2. FBI SA Carlos Narro         I/
  7                3. Sheriff Leroy Baca (Ret.)
  8                4. Deputy Jason Pearson
  9                    Deputy Ryan Ortiz
 10               vK   Deputy Michael Rathbun
 11                    SA Leah Marx
 12                8. Lieutenant Steven Leavins
 13                9. AUSA Lawrence Middleton S          //C,//~

 14                10.Paul Yoshinaga
 15                11 .Michael Gennaco
 16                12. Steve Martinez (Former FBI Assistant Director in Charge)      -
                                                                                      !Fllbllq
 17                13. Captain William T. Carey.g//q/ /,
 18                14.Rebecca Lee
 19               i’. Anthony Brown
 20                16. Peter Norrell
 21                17 .Undersheriff Paul Tanaka (Ret.)
 22       DATED: May 12, 2014               THOMAS P. O’BRIEN
                                            NICHOLAS J. BEGAKIS
 23                                         PAUL HASTINGS LLP
 24

 25                                         By:                      Is!
                                                              Nicholas J. Begakis
 26
                                            Attorneys for Defendant
 27                                         JAMES SEXTON
 28

                                                   -1-             DEFENDANT SEXTON’S WITNESS LIST
     Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 7 of 15 Page ID #:4264

                                               United States v. James Sexton
                                                        Exhibit List


                                                                                                               -.
     Email dated 08/18/11, 10:12 AM, from Gregory L. Thompson to Chris J. Reddington,        5/14/14   ’   5/14/14
1    Roberto E. Bayes, Gerard R. Smith, Jason E. Colon re: Briefing on Brown case

2    Email dated 08/18/11, 1:31 PM, from Gregory L. Thompson to Roberto E. Bayes             5/14/14       5/14/14

     Email chain ending 08/19/11, 12:05 PM, with email from Gerard R. Smith to Mickey S.     5/14/14       5/14/14
3    Manzo

     Recording of Anthony Brown Interview 8/19/11                                            5/14/14
4

     Recording of Anthony Brown Interview 8/19/11 Excerpts                                   5/14/14       5/14/14
5

     Transcript of Anthony Brown Interview 8/19/11 Excerpts                                  5/14/14
6

     Recording of Anthony Brown Interview 8/23/11                                            5/14/14
7

     Recording of Anthony Brown Interview 8/23/11 Excerpts                                   5/14/14       5/14/14
8

     Transcript of Anthony Brown Interview 8/23/11 Excerpts                                  5/14/14
9

     Email chain ending 08/15/11, 11:01:01 AM, with email from Judy A. Gerhardt to Stephen   5/14/14       5/14/14
10   E. Leavins re: FW: Discovery Xerox

     Email dated 08/30/11, 5:15 PM, from Judy A. Gerhardt to Christopher P. Nee re: FW:      5/14/14       5/14/14
11   FBI Subpoenas
       Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 8 of 15 Page ID #:4265



     Grand jury subpoenas LASD received from June to October 2011                             5/15/14    ’   5/15/14


     Email chain ending 08/24/11, 10:06:55 AM, with email from Steven G. Spackman to          5/14/14        5/14/14
13   William T. Carey re: Re

     Email chain ending 08/24/11, 9:39 PM, with email from Gregory L. Thompson to             5/14/14            5/14/14
14   Christopher P. Nee

     Email dated 08/25/11, 12:45 PM, from Gregory L. Thompson to Custody Captains;            5/14/14            5/14/14
15   Custody Ups Lts, CC: to Custody Commander, MCJ Jail Liason re: Inmate Interviews

     Email dated 08/24/11, 11:17 PM, from Gerard R. Smith to Carlos Castillo; Noah J. Kirk;   5/14/14            5/14/14
     Sterling G. Haley; Joseph T. Eiland; Calvin E. Lane Jr.; Justin J. Crumlish; Jason E.
     Colon; Matthew G. Thompson; James M. Sexton; Michael C. Rathbun; John J. Bonner;
16
     Robert W. Staggs, CC: to Mickey S. Manzo; Gregory L. Thompson; David J. Gutierrez,
     re: Confidential

     Email chain ending 08/25/11, 9:37 AM, with email from Noah J. Kirk to Gerard R. Smith;   5/14/14            5/14/14
     Sterling G. Haley; Justin J. Crumlish; Calvin E. Lane Jr.; Joseph T. Eiland; Carlos
     Castillo; Matthew G. Thompson; Ryan G. Ortiz; Jason W. Pearson; James M. Sexton;
17
     Michael C. Rathbun; Robert W. Staggs; John J. Bonner, CC: to Mickey Manzo, re: RE:
     schedule

     Federal Court Writ for the Grand Jury Testimony of Anthony Brown, dated 08/25/11         5/14/14            5/14/14
18
     Phone records for US Marshal Service fax machines                                        5/15/14            5/15/14
19
     Phone record for LASD Inmate Reception Center fax machine                                5/15/14            5/15/14
20
     Inmate Release Processing Record for Inmate Anthony Brown, Booking Number 2009547         5/15/14            5/15/14
21

     Inmate Case Summary Information Record for Inmate Anthony Brown, Booking Number
22   2009547
                                                                                                             I
                 Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 9 of 15 Page ID #:4266


                           -                                                                              -



    pyof ecords Jacket for Inmate Anthony Brown, Booking Number 2009547
77Co7                                                                                          5/15/14   5/15/14


              Inmate Total Movement History Record for Inmate Anthony Brown, Booking Number    5/15/14   5/15/14
      24
              2009547, printed on 01/19/12
              INTENTIONALLY LEFT BLANK
      25

              INTENTIONALLY LEFT BLANK
      26

               Original Calendar Book for 2011, including for 08/22/11 to 08/31/11             5/14/14   5/14/14
      27

               "Smith, G 431549" Notebook                                                      5/14/14   5/14/14
      28

               "Daily Activities" Notebook                                                     5/14/14   5/14/14
      29

               "G" Notebook                                                                    5/14/14   5/14/14
      30

               Booking record for "John Rodriguez," Booking Number 2855633                     5/15/14   5/15/14
      31

               Inmate Information Center Record for "John Rodriguez," Booking Number 2855633   5/15/14   5/15/14
      32

               Booking record for "Kevin King," Booking Number 2856795                         5/14/14   5/14/14
      33

               "DONE 11-1-11" Notebook                                                         5/14/14    5/14/14
      34
      Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 10 of 15 Page ID #:4267



     Inmate Information Center Records for "Chris Johnson," Booking Number 2863148            ’ 5/15/14   5/15/14
35

     Inmate Total Movement History Record for "Chris Johnson," Booking Number 2863148          5/15/14    5/15/14
36

     Inmate Information Center Record for Inmate Anthony Brown, Booking Number                 5/15/14    5/15/14
37   2874104, printed on 09/12/11

     082611 Anthony Brown Inmate Information Center record                                     5/14/14    5/14/14
38
     Email chain ending 08/26/11, 10:50 AM, with email from Gregory L. Thompson to Ralph       5/14/14    5/14/14
39   G. Ornelas and William T. Carey

     Email chain ending 08/26/11, 10:47:41 AM, with email from Gregory L. Thompson to          5/14/14    5/14/14
40   William T. Carey

     Email chain ending 08/26/11, 10:56 AM, with email from Gregory L. Thompson to             5/14/14    5/14/14
41   William T. Carey, re: FW: Court Order presented by Federal Officers

     Handwritten Letter from Inmate Anthony Brown, to Lt. Steve & Capt. Tom, Sgt. Long,         5/14/14   5/14/14
42   Sgt. Grey, dated 09/03/11

     Handwritten Declaration of Inmate Anthony Brown, AB Declaration re not cooperating         5/14/14   5/14/14
43   with FBI

     Email chain ending 08/26/11, 9:39 AM, with email from Stephen E. Leavins to Gregory        5/14/14   5/14/14
44   L. Thompson re: Documents for Grand Jury Subpoena

     Email chain ending 09/09/11, 1:51 PM, with email from Sterling G. Haley to Gerard R.       5/14/14   5/14/14
45   Smith

     Email chain ending 09/12/11, 6:28 PM, with email from James M. Sexton to Raymond R.        5/14/14    5/14/14
     Cardenas, CC: to Gregory L. Thompson, David J. Gutierrez, William G. Gilbert; Eliel K.
46   Teixeria; Giovanni A. Paterno; Jason W. Pearson; Mickey S. Manzo; Gerard R. Smith, re:
     Brown, Anthony #2874104
       Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 11 of 15 Page ID #:4268

                                                 -’


      Email dated 09/13/11, 12:43 PM, from Gerard R. Smith to Carlos Castillo; Jason E.         ’   5/14/14   ’   5/14/14
      Colon; Justin J. Crumlish; Joseph T. Eiland; Sterling G. Haley; Noah J. Kirk; Calvin E.
747   Lane Jr.; Ryan G. Ortiz; Jason W. Pearson; Michael C. Rathbun; James M. Sexton;
      Matthew G. Thompson, CC: to Mickey S. Manzo, re: SECURITY DETAIL

      Sexton Grand Jury Testimony                                                                   5/16/14       5/16/14
 48

      Summary of GJ Subpoenas received                                                              5/15/14       5/15/14
 49


      Email dated 08/26/11 from Yolanda Baines to Lawrence Middleton                                5/15/14
 50

      LASD Time Cards for Defendant James Sexton for 08/07/11 to 10/22/11                           5/15/14       5/15/14
 51

      Recording of AB Interview 08/21/11 a.m.                                                       5/14/14
 52

      Recording of AB Interview 08/2111 a.m. excerpts                                               5/14/14       5/14/14
 53

      Transcript of 08/21/11 a.m. Recording Excerpts                                                5/14/14
 54

      Summary Emails in LASD System
 55

 56   Email chain dated 9/12/11                                                                     5/14/14       5/14/14
 57   Robert Bayes entry/exit log
                    -                                                                               5/14/14
 61   Video of Agent Marx                                                                           5/15/14       5/15/14
 62   Inmate total movement history report for John Rodriguez                                       5/15/14       5/15/14
 63   Stipulation re: Grand Jury Testimony                                                          5/16/14
 66   Email from Carey to Leavins                                                                   5/19/14        5/19/14
 67   ICIB Report                                                                                   5/19/14
Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 12 of 15 Page ID #:4269



                              DEFENSE TRIAL EXHIBIT LIST

   Case Title: United States ofAmerica vs. Gregory Thompson, et al.

   Case No.: CR 13-819-PA

      Ex. No.                      Description            Date Identified   Date Admitted
      TX200                 LASD Organization &
                      Departmental Chart (combined)
       TX201              LASD Departmental Chart
       TX202        9/26/2011 Letter from Leroy Baca
                                to_AndrØ_Birotte
       TX203        JIU/OSJ Cell-Phone Investigation
                              Time Line of Events
       TX204          8/17/2011 Report of Interview of
                      Inmate Anthony Brown from R.
                            Bayes_to_G._Thompson
       TX205           8/18/2011 CHS Cover Exposed
                             (FBI Form FD-1040a)
      TX206              ICIB/SOG Weekly Activity
                                     Reports
      TX207                8/26/2011 Email from G.
                     Thompson to W. Carey regarding
                                   Court Order
      TX208         8/31/2011 Email from A. Davis to
                         P. Yoshinaga, and Attached           t
                        Report regarding Confidential
                                  Investigation
      TX209          9/21/2011 LASD Supplementary
                                     Report
      TX210                   Carey Inbox Emails
      TX21 I                   Carey Sent Emails
      TX212         JIU/OSJ Cell-Phone Investigation
                              Time _Line _of Events
      TX213                8/29/2011 Email from G.
                       Thompson to M. Manzo and P.
                      Yoshinaga regarding Cellphone
                                  Investigation
      TX214          8/29/2011 Email from S. Leavins
                     to P. Yoshinaga attaching Brown
                                     Memo
      TX21 5        9/2/2011 Email from S. Leavins to
                        P. Yoshinaga regarding Legal
                                     Issues
      TX216         8/24/2011 Email from G. Smith to
                      J. Sexton, et al., regarding Most
                       Important _LASD_Investigation
      TX217              LASD Manual 5-07/030.00
      TX2 18                8/8/11 Incident Report
      TX2 19             Anthony Brown RAP Sheet
Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 13 of 15 Page ID #:4270


      TX220           Task Force Weekly Report:
                        Septemper_l8to_24,_2011
      TX221             8/18/2011 Email from G.
                  Thompson to R. Bayes regarding
                             Anthony Brown
      TX222      9/12/2011 Email from J. Sexton to
                    R. Cardenas regarding Anthony
                       Brown_In-Custody _Release
      TX223      8/25/2011 Email from S. Martinez
                       to L. Baca regarding MCJ
      TX224      8/18/2011 Email from G. Smith to
                 M. Manzo regarding Transcript of
                 Call Between Anthony Brown and
                                    FBI
      TX225       8/17/2011 Email from R. Ornelas
                     to G. Hosac regarding Inmate
                            Brown Allegation
      TX226      8/18/2011 Email from G. Smith to
                      R. Bayes regarding Anthony
                      Brown’s_Discipline _Reports
      TX227      8/24/2011 Email from P Tanaka to
                   G. Thompson regarding Federal
                                Complaint
      TX228        8/24/2011 Email from P. Tanaka
                    to G. Thompson regarding FBI
                               Investigation
      TX229        8/30/2011 Email from P. Tanaka
                    to G. Thompson regarding FBI
                            Interview Request
      TX230      8/18/2011 Email from S. Martinez
                   to L. Baca regarding Phone Call
      TX23 1      8/25/2011 Email from T. Delaney
                 to S. Martinez regarding CR Case
      TX232      8/30/2011 Email from C. Narro to
                 M. Moon regarding Withdrawal of
                                   Writ
      TX23 3      8/31/2011 Email from T. Delaney
                 to M. Moon regarding FBI Agents
                        and _Copying _Credentials
      TX234       9/9/2011 Email from T. Delaney
                   to S. Martinez regarding LASD
                              Talking Points
      TX235      9/26/2011 Email from T. Delaney
                        to S. Martinez regarding
                       Celiphone_Talking_Points
      TX236        8/19/2011 Email from G. Smith
                 and M. Manzo regarding Anthony
                   Brown Recorded Call on Global
                                   Tell
Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 14 of 15 Page ID #:4271


      TX237       9/27/2011 Email from S. Martinez
                   to A. Birotte regarding LA Times
                                  Article
      TX238        11/9/2011 Email from R. Clark to
                      S Martinez regarding LASD
      TX239            11/21/2011 Email from S.
                 Martinez to P. Raimondi regarding
                         LASD Potential Policy
      TX240       8/24/2011 Email from L. Farrar to
                      L. Middleton regarding Writ                 (




      TX24 1      8/18/2011 Email from V. Cockrell
                   to P. Angelini regarding Chain of
                                Command
      TX242       9/27/2011 Email from A. Montero
                    to S. Martinez, et al,, regarding
                            State Prosecution
      TX243       9/28/2011 Email from T. Delaney
                  to L. Marx, et al., regarding Final
                                Statement
      TX244       9/27/2011 Email from L. Eimiller
                    to C. Narro et al., regarding AP
                                  Article
      TX245             8/23/2011 Email from L.
                     Middleton to L. Rhodes et al.,
                             regarding Writ
      TX246      8/30/2011 Email from M. Moon to
                      T. Delaney regarding LASD
                                  Matter
      TX247          Anthony Brown Handwritten
                         Notes_Dates _8/29/20 1_1
      TX248      8/15/2011 FBI Request for Interim
                             Authorization
      TX249        July 2010 FBI Law Enforcement
                                 Bulletin
      TX250       9/27/2011 Investigative Timeline
      TX251       9/27/2011 Email from C. Narro to
                       M. Moon et al., regarding
                         Investigative Timeline
      TX252            9/9/2011 CHS Reporting
                    Document _(FBI _Form FD- 1023)
      TX253       8/31/2011 Email from V. Bottom
                  to B. Fitzpatrick regarding LASD
                              Investigation
      TX254          12/19/2013 FBI Memorandum
                 regarding Meeting between AUSA
                  L. Middleton, SSA C. Narro, and
                              M._Gennaco
      TX255          2/25/2014 FBI Memorandum
                  regarding Notes of 9/9/2011 Call
Case 2:13-cr-00819-PA Document 386 Filed 05/22/14 Page 15 of 15 Page ID #:4272


                           with M. Gennaco
      TX256       9/12/2011 Email from C. Rhambo
                 to P. Tanaka et al., regarding Patio
      TX257       5/12/2012 Text Message between
                   J. Sexton to P. Hampel (Instant
                           Message: 11410)
      TX258       5/17/2010 Text Message between
                   J. Sexton to P. Hampel (Instant
                           Message: 5363)
      TX259       5/17/2012 Text Message between
                   J. Sexton to P. Hampel (Instant
                           Message: 5365)
      TX260       5/18/2012 Text Message between
                   J. Sexton to P. Hampel (Instant
                           Message: 5375)
      TX261       7/24/2012 Text Message between
                   J. Sexton to P. Hampel (Instant
                           Message: 5389)
      TX262       7/25/2012 Text Message between
                   J. Sexton to P. Hampel (Instant
                           Message: 5395)
      TX263       7/25/2012 Text Message between
                   J. Sexton to P. Hampel (Instant
                           Message: 5397)
      TX264      7/25/2012 Text Message between
                   J. Sexton to P. Hampel (Instant
                           Message: 5394)
      TX265      9/4/2012 Text Message between J.
                     Sexton to P. Hampel (Instant
                           Message: 5406)
      TX266      9/4/2012 Text Message between J.
                     Sexton to P. Hampel (Instant
                           Message: 5409)
      TX267       Anthony Brown Letter to USAO
                      and Exhibits in Support of
                              Credibility
      TX268            July 2010 FBI Bulletin:
                 Cellphones_as_Prison_Contraband
      TX269        10/13/2011 FBI UIA regarding
                    Drugs in Jail (FBI Form FD-.
                                1040a)
      TX270                      T         102... &t’
      TX27 1              Middleton Notes
      TX272         7/4/2011 Martinez Email to J.
                                Sexton
      TX273              LASD Manual 3-01
      TX274        1/4/2012 Video Sheriff Baca
                                   -




      TX275      Sheriff Baca Good Day LA Video
                                 Clip
